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                    IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF COLUMBIA
   - - - - - - - - - - - - - - - - x
   UNITED STATES OF AMERICA         CR No. 1:24-cr-00233-RC-1

   v.
                                          Washington, D.C.
   CHRISTINA KELSO,                       Thursday, October 17, 2024
                                          10:30 a.m.
                    Defendant.
   - - - - - - - - - - - - - - - - x
   ____________________________________________________________
                     TRANSCRIPT OF FARETTA HEARING
              HELD BEFORE THE HONORABLE RUDOLPH CONTRERAS
                      UNITED STATES DISTRICT JUDGE
   ____________________________________________________________
   APPEARANCES:

   For the United States:      Anthony W. Mariano, Esq.
                               U.S. ATTORNEY'S OFFICE FOR THE
                               DISTRICT OF COLUMBIA
                               601 D Street, NW
                               Washington, DC 20530
                               (202) 476-0319


   For the Defendant:          Christina Kelso, Pro Se


   Also Present:               Carmen D. Hernandez, Esq.
                               7166 Mink Hollow Road
                               Highland, MD 20777
                               (240) 472-3391


   Court Reporter:             Timothy R. Miller, RPR, CRR, NJ-CCR
                               Official Court Reporter
                               U.S. Courthouse, Room 6722
                               333 Constitution Avenue, NW
                               Washington, DC 20001
                               (202) 354-3111


   Proceedings recorded by machine shorthand; transcript
   produced by computer-aided transcription.
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1                              P R O C E E D I N G S

2                    THE DEPUTY CLERK:     This is Criminal Action 24-233,

3       United States v. Christina Kelso.

4                    Parties, please state your appearances for the

5       record.

6                    MR. MARIANO:   Good morning, Your Honor.         Anthony

7       Mariano for the United States.

8                    THE COURT:   Good morning.

9                    MS. HERNANDEZ:   Good morning, Your Honor.            Carmen

10      Hernandez.

11                   THE COURT:   Good morning.

12                   Good morning, Ms. Kelso.

13                   THE DEFENDANT:   Good rising.

14                   THE COURT:   So Ms. Kelso, when we last spoke, you

15      indicated that you were going to submit some stuff from

16      the -- to the Court.      I didn't -- I haven't seen anything.

17      Did you send anything?

18                   THE DEFENDANT:   Not yet.

19                   THE COURT:   Okay.

20                   THE DEFENDANT:   I just wanted to make sure that I

21      wasn't represented by Carmen Hernandez before I sent it.

22                   THE COURT:   Okay.    So I gather from that comment

23      you still want to go forward in representing yourself.               Is

24      that right?

25                   THE DEFENDANT:   (Inaudible.)
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1                    THE COURT:    I'm sorry.    I didn't hear you,

2       Ms. Kelso.

3                    THE DEFENDANT:    Yes, I do.

4                    THE COURT:    Okay.    All right.       So there's a

5       process I need to go through in order to make sure that

6       you're making that decision knowingly, voluntarily, and

7       intelligently.       So I need to ask you a series of questions

8       to make that determination.         So let's start with that

9       process.

10                   So you're before the Court because you have been

11      charged in a criminal superseding indictment with multiple

12      counts arising from your alleged actions during the attack

13      on the Capitol on January 6th, 2021.          I understand that you

14      wish to waive your right to assistance of counsel and,

15      instead, you wish to exercise your constitutional right to

16      represent yourself.       So before accepting your waiver of

17      counsel, Ms. Kelso, and before finding that you may

18      represent yourself without counsel, I have to ask you some

19      questions to be certain that this decision is being made

20      knowingly, voluntarily, and with a full appreciation and

21      understanding of the consequences.          So as part of the

22      process, you have to answer these questions under oath.              So

23      we're going to swear you in.

24                   THE DEPUTY CLERK:      Ms. Kelso, I'm sorry that you

25      can't see me, but please raise your right hand.
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1                    Do you solemnly affirm that the answers you're

2       about to give today in this proceeding will be the truth,

3       the whole truth, and nothing but the truth?

4                    THE DEFENDANT:   Yes.

5                    THE COURT:   Okay.    So the next series of questions

6       are ones that judges have to ask whenever we discuss issues

7       of this nature relating to waiver of constitutional rights

8       to make sure that there's nothing that influences your state

9       of mind in terms of you being clear-minded.             So Ms. Kelso,

10      are you presently under the influence of alcohol or

11      narcotics?

12                   THE DEFENDANT:   No.

13                   THE COURT:   Okay.    Have you ever been treated for

14      addiction to narcotic drugs or alcohol?

15                   THE DEFENDANT:   No.

16                   THE COURT:   Okay.    Have you ever been treated for

17      emotional or psychological problems?

18                   THE DEFENDANT:   No.

19                   THE COURT:   Okay.    How far did you go in school?

20                   THE DEFENDANT:   I graduated with a bachelor's --

21                   THE COURT:   Okay.

22                   THE DEFENDANT:   -- degree.

23                   THE COURT:   All right.     Do you have any legal

24      training?

25                   THE DEFENDANT:   No, but I was a philosophy
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1       major --

2                    THE COURT:   Okay.

3                    THE DEFENDANT:   -- which -- somewhat good

4       training, but --

5                    THE COURT:   Okay.     I'm not sure everyone would

6       agree with that, but I -- it's important that you are an

7       educated woman.

8                    Have you ever represented yourself in court before

9       either in a civil or a criminal action?

10                   THE DEFENDANT:   I have a couple of times, yes.

11                   THE COURT:   Okay.     Tell me very briefly the nature

12      of those.

13                   THE DEFENDANT:   So the first time, it was -- I was

14      arrested in Yuma, Arizona.         They -- it was -- basically, I

15      failed to identify myself.         I had declined to give my name

16      and date of birth.     I hadn't committed any crime.           So it was

17      an illegal arrest.     I spent the day in jail, but

18      eventually -- and I went to court.          When I got back to

19      California -- they allowed me to leave the state -- they

20      eventually dismissed the case, and I think they did it with

21      prejudice.    Does that mean they can go back, sort of, if

22      they want to?

23                   THE COURT:   With -- no, without prejudice -- yeah,

24      without prejudice is -- it -- they can go back.              But

25      regardless, so you represented yourself in that matter?
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1                   THE DEFENDANT:    I did, yes.

2                   THE COURT:    Okay.    Tell me briefly why you want to

3       represent yourself in this case.

4                   THE DEFENDANT:    You know, I just don't feel that

5       my counsel has been responsive to some of my questions.            So

6       I -- and I'm also, just as a general point of the legal

7       scheme right now, not -- I'm not confident in our -- like,

8       the -- our justice -- the -- our -- what do I call it, you

9       know -- that the Justice Department is stressed to begin

10      with.   So I feel very strongly that probably all three of

11      you -- it's, like, three against one.          And so I would just

12      prefer to make it a clean fight and for me to represent

13      myself, you know?     It's -- like, it's obviously not a fair

14      fight, but it's really not fair if people are pretending to

15      be my advocates when I just don't trust that that's the

16      case.   So --

17                  THE COURT:    Okay.    So just so I'm clear as to what

18      your concerns are, at the beginning you started with talking

19      about concerns you had about Ms. Hernandez, but then you

20      went on to some more general concerns about the criminal

21      justice system.      So I want to make sure that what you want

22      is to represent yourself rather than just wanting a

23      different defense counsel.

24                  THE DEFENDANT:    I don't believe that -- pardon

25      me -- that a defense is possible.         Like, I don't think
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1       anyone would be able to represent me because of the way the

2       court is structured, you know?        So yeah, I don't want a

3       private lawyer.      I don't want a public defender.         I just

4       would prefer to represent myself.         Like, I'm going to speak

5       for myself better than anyone else.         And I didn't, you

6       know -- partly, it's a trust issue.         I just -- I don't have

7       the -- I don't feel like I can trust anyone who's got, like,

8       a Bar card; right?      So that's just where I'm at.

9                   THE COURT:    Okay.

10                  THE DEFENDANT:    I, you know -- and I've looked at

11      many other cases and, you know, we all know how they've

12      gone.   So yeah, it's -- it would just be far preferable for

13      me to be able to represent myself and, you know, that is my

14      right under the Constitution, and clearly I -- I mean, I

15      don't even know if -- what rights we have left, but that is

16      one.    I would like that one.

17                  THE COURT:    Okay.    So I just want to make sure --

18      and it sounds like you understand this -- but I want to make

19      sure that you understand that you have a constitutional

20      right to assistance of counsel regardless of whether or not

21      you can afford an attorney.        You understand that right?

22                  THE DEFENDANT:    I do comprehend that, but I also

23      have a constitutional right to represent myself.

24                  THE COURT:    Right.    No, I understand that, and

25      that's what we're getting at today.         So we'll go through
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1       that, as well.       But I want to make sure you understand that

2       you have the right to a -- have a lawyer appointed to you,

3       regardless of whether or not you can pay.             You understand

4       that?

5                   THE DEFENDANT:     Yes, I do.

6                   THE COURT:     Okay.    All right.       So we're going

7       to -- I'm going to go through the counts you're facing just

8       so that you have a good appreciation of what the stakes are.

9                   So in Count 1, you understand you're charged with

10      conspiracy to impede or injure officers, in violation of 18

11      U.S.C. 372?    Do you understand that?

12                  THE DEFENDANT:     Yes, I do.

13                  THE COURT:     Okay.    And that the maximum penalty

14      for that offense is six years in prison.             You understand

15      that?

16                  THE DEFENDANT:     Yes.

17                  THE COURT:     Okay.    And do you further understand

18      that the maximum fine for that offense is $250,000?                  You

19      understand that?

20                  THE DEFENDANT:     Yes.

21                  THE COURT:     And then with respect to Count 2, you

22      further understand that you're charged with a count of civil

23      disorder, in violation of 18 U.S.C. 231(a)(3)?              You

24      understand that?

25                  THE DEFENDANT:     Yes.
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1                   THE COURT:    And that the maximum fine for that

2       offense -- rather, the maximum penalty for that offense is

3       five years in prison.      Do you understand that?

4                   THE DEFENDANT:    Yes.

5                   THE COURT:    Okay.    And that the maximum fine for

6       that one is $250,000, as well.        Do you understand that?

7                   THE DEFENDANT:    Yes.

8                   THE COURT:    Okay.    And then for Counts 3 and 4, do

9       you understand that for those two separate offenses, you're

10      charged first with entering and remaining in a restricted

11      building or grounds; and the second one is disorderly and

12      disruptive conduct in a restricted building and grounds, in

13      violation of 18 U.S.C. 1752 Sections (a)(1) and (a)(2),

14      respectively.    You understand that?

15                  THE DEFENDANT:    Yes.

16                  THE COURT:    Okay.    And the maximum penalty for

17      each of those offenses is one year in prison.            Do you

18      understand that?

19                  THE DEFENDANT:    Yes.

20                  THE COURT:    Okay.    And do you further understand

21      that the maximum fine for each of those offenses is

22      $100,000?    Do you understand that?

23                  THE DEFENDANT:    Yes.

24                  THE COURT:    Okay.    And then with respect to Count

25      5, do you further understand that you're charged with one
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1       count of disorderly conduct in a Capitol building or

2       grounds, in violation of 40 U.S.C. Section 5104(e)(2)(D)?

3       Do you understand that?

4                   THE DEFENDANT:     Yes.

5                   THE COURT:    Okay.    And the maximum penalty for

6       that offense is six months in prison.          Do you understand

7       that?

8                   THE DEFENDANT:     Mm-hmm.    Yes.

9                   THE COURT:    Okay.    And that the maximum fine for

10      that one is $5,000.      Do you understand that?

11                  THE DEFENDANT:     Yes.

12                  THE COURT:    Okay.    Do you further understand that

13      if you're convicted of these offenses -- one or more of

14      them -- you would be required to pay special assessments

15      that could add up to a total of a few hundred dollars?              Do

16      you understand that?

17                  THE DEFENDANT:     Yes.

18                  THE COURT:    Okay.    Do you further understand that

19      if convicted of these offenses, you would be subject to a

20      term of supervised release of -- not to exceed three years?

21      Do you understand that?

22                  THE DEFENDANT:     Yes.

23                  THE COURT:    And with respect to supervised

24      release, what that means is that if you are sent to prison,

25      then you -- after release, you'll be subject to certain
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1       terms and conditions with which you must comply, and if you

2       violate those terms and conditions, you can be sent back to

3       prison for an additional period of time.            Do you understand

4       how supervised release works?

5                   THE DEFENDANT:     Yes.

6                   THE COURT:    Okay.    Do you understand that if

7       you're found guilty of more than one of these crimes, the

8       Court can order that the sentences be served consecutively?

9       That means one after the other.         You understand that?

10                  THE DEFENDANT:     Yes.

11                  THE COURT:    So if you were found guilty of all of

12      these offenses and they -- and I were to order that the

13      terms be served consecutively, that would add up to a bunch

14      of years.    Many, many years.      You understand that?

15                  THE DEFENDANT:     Thirteen-and-a-half years.           Yes.

16                  THE COURT:    Okay.    And also, the fines can be

17      imposed cumulatively.      So that would end up being hundreds

18      of thousands of dollars.       Do you understand that?

19                  THE DEFENDANT:     Yes.

20                  THE COURT:    Okay.    Do you understand that there

21      are advisory sentencing guidelines that may have an effect

22      on your sentence if you are found guilty?

23                  THE DEFENDANT:     Yes.

24                  THE COURT:    Okay.    And that your attorney can help

25      you determine what the advisory guidelines range could be if
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1       you were found guilty of one or more of these offenses.             Do

2       you understand that?

3                   THE DEFENDANT:     Yes.

4                   THE COURT:    Okay.    Do you understand that a lawyer

5       would be able to help you understand fully what the elements

6       of each of these crimes are and would be able to help you

7       understand whether or not the Government has met its burden

8       to prove each of these elements?

9                   THE DEFENDANT:     Yes.

10                  THE COURT:    Okay.    Do you also understand that a

11      lawyer would be able to help you identify possible defenses

12      to these crimes and would be able to help you decide whether

13      to raise these defenses?

14                  THE DEFENDANT:     Yes.

15                  THE COURT:    Okay.    Do you understand that a lawyer

16      would be able to help you file any motions that are

17      necessary to your defense and would be sure that the motions

18      comply with the federal and local rules of procedure?

19                  THE DEFENDANT:     Yes.

20                  THE COURT:    Okay.    Do you understand that a lawyer

21      would be familiar with the rules of discovery and would be

22      able to help you ensure that you received all of the

23      information from the Government to which you are entitled by

24      law?   Do you understand that?

25                  THE DEFENDANT:     Yes.
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1                   THE COURT:    Are you familiar with the Federal

2       Rules of Evidence?

3                   THE DEFENDANT:      I don't know.

4                   THE COURT:    Okay.     Do you understand that the

5       Federal Rules of Evidence govern what evidence may or may

6       not be introduced at trial and in that -- representing

7       yourself you have to abide by those rules?               Do you

8       understand that?

9                   THE DEFENDANT:      Yes.

10                  THE COURT:    Do you understand that a lawyer would

11      be familiar with the Rules of Evidence and would be able to

12      present your case or cross-examine the Government's

13      witnesses in compliance with those rules?

14                  THE DEFENDANT:      Yes.

15                  THE COURT:    All right.        Are you familiar with the

16      Federal Rules of Criminal Procedure?

17                  THE DEFENDANT:      No.

18                  THE COURT:    No?      Okay.    And so the same sort of

19      thing.    Do you understand that those rules govern the way a

20      criminal action is tried in federal court?               Do you

21      understand that?

22                  THE DEFENDANT:      Yes.

23                  THE COURT:    Okay.     Do you understand that if you

24      choose to proceed without a lawyer, you nevertheless will be

25      required to follow the same rules of discovery, the same
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1       rules of procedure, and the same Rules of Evidence that

2       apply to all attorneys who practice here?

3                   THE DEFENDANT:     Yes.

4                   THE COURT:    Okay.    Do you understand that if you

5       represent yourself, you will be on your own and I will not

6       be able to offer you guidance on what those rules require?

7                   THE DEFENDANT:     Yes.

8                   THE COURT:    All right.     Do you understand that you

9       may have rights under the Fourth, Fifth, and Sixth

10      Amendments to the Constitution to ask this Court to suppress

11      evidence that the Government may seek to use against you at

12      trial?

13                  THE DEFENDANT:     Yes.

14                  THE COURT:    All right.     Do you understand that a

15      lawyer would be able to help you make the decision about

16      whether to waive your Fifth Amendment right not to take the

17      stand and testify?      Do you understand that?

18                  THE DEFENDANT:     Yes.

19                  THE COURT:    All right.     Do you understand that a

20      lawyer would be able to help you exercise your

21      constitutional right to confront the Government's witnesses

22      by cross-examining them?

23                  THE DEFENDANT:     Yes.

24                  THE COURT:    Do you understand that if you choose

25      to proceed without a lawyer and you make mistakes during
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1       your representation of yourself, you will not be able to

2       successfully appeal your conviction on the grounds that you

3       made those mistakes?       Do you understand that?

4                    THE DEFENDANT:    Yes.

5                    THE COURT:    Do you understand that a lawyer would

6       be able to help you select jurors from the juror panel by

7       asking them questions and using the lawyer's trial

8       experience to predict how those jurors might behave?                Do you

9       understand that?

10                   THE DEFENDANT:    Yes.

11                   THE COURT:    Do you understand that you have a

12      right to a certain number of what's referred to as

13      peremptory strikes?       Meaning, that you can request that some

14      potential jurors be stricken from the pool and that a lawyer

15      would be able to help you make a decision about which jurors

16      to strike.    Do you understand that?

17                   THE DEFENDANT:    Yes.

18                   THE COURT:    Okay.   Do you understand that if you

19      had a lawyer, she would be able to help you decide whether

20      to make an opening statement on your behalf and she could

21      make that statement, explaining to the jury what you expect

22      the evidence to show?       Do you understand that?

23                   THE DEFENDANT:    Yes.

24                   THE COURT:    Do you further understand that the

25      Government has to -- has the right to make such an opening
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1       statement and the Government will have the legal knowledge

2       and experience of attorneys like Mr. Mariano?             Do you

3       understand that?

4                   THE DEFENDANT:     Yes.

5                   THE COURT:    Do you understand that if you had a

6       lawyer, she would be able to help you decide whether to make

7       a closing argument on your behalf and she would be able to

8       make that argument, explaining to the jury what you believe

9       the evidence shows?      Do you understand that?

10                  THE DEFENDANT:     Yes.

11                  THE COURT:    Do you further understand that the

12      Government will also have the right to make such a closing

13      argument and the Government will have the legal knowledge

14      and experience of attorneys like Mr. Mariano to help them

15      make those arguments?      Do you understand that?

16                  THE DEFENDANT:     Yes.

17                  THE COURT:    Do you understand that if you had a

18      lawyer, she would be able to help you make strategic

19      decisions about your defense?

20                  THE DEFENDANT:     Yes.

21                  THE COURT:    All right.     Do you understand that at

22      the close of trial, I will give a series of instructions to

23      the jury that will explain the law to them and that a lawyer

24      would be able to help you object to certain proposed

25      instructions or propose other instructions in accordance
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1       with your interests?       Do you understand that?

2                   THE DEFENDANT:        Yes.

3                   THE COURT:      All right.        Now, in light of the

4       penalty that you might suffer if you are found guilty and in

5       light of all difficulties of representing yourself, do you

6       still desire to represent yourself and to give up your right

7       to be represented by a lawyer?

8                   THE DEFENDANT:        Yes.

9                   THE COURT:      Okay.    Do you have any questions at

10      all about what I have discussed with you about the

11      challenges and dangers of representing yourself at trial?

12                  THE DEFENDANT:        No.

13                  THE COURT:      No?     Okay.

14                  So I must tell you that in my opinion, you would

15      be much better off defended by trained lawyers like

16      Ms. Hernandez or someone else that I might appoint than you

17      can be by yourself.       I think it is unwise of you to try to

18      represent yourself.       You are not familiar with the law, with

19      court procedure, or with the Rules of Evidence.                  A trial in

20      federal court is difficult for even an experienced attorney.

21      And if you represent yourself, you will be at an extreme

22      disadvantage.        I would strongly urge you not to try to

23      represent yourself, but as you understand, you have a

24      constitutional right to do so, if you wish.

25                  I must also tell you that if you do decide to
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1       represent yourself, once I set a trial date, I will not

2       continue or postpone that trial date just because you tell

3       me you're not ready.      Do you understand all of that?

4                    THE DEFENDANT:     Yes, and I thought we had a trial

5       date set on the calendar.

6                    THE COURT:   I don't recall setting one.              Does

7       counsel --

8                    THE DEFENDANT:     For March.

9                    THE COURT:   March?

10                   THE DEFENDANT:     March 31st, 2025.

11                   MR. MARIANO:   I don't believe so, Your Honor.               I

12      think you had said you had availability at the end of March,

13      but we hadn't actually set a date.

14                   THE COURT:   Okay.     All right.         So I don't think we

15      have set a date.

16                   THE DEFENDANT:     Okay.      Well, I had written down

17      that --

18                   THE COURT:   Okay.

19                   THE DEFENDANT:     -- the date.

20                   THE COURT:   All right.        So Ms. Kelso, has anyone

21      promised you anything in return for your decision to proceed

22      without a lawyer?

23                   THE DEFENDANT:     No.

24                   THE COURT:   No?      Has anyone put any pressure on

25      you or threatened you in any way into making that decision?
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1                   THE DEFENDANT:      No.

2                   THE COURT:    No?      So this decision is completely

3       voluntary on your part?

4                   THE DEFENDANT:      Yes.

5                   THE COURT:    Okay.     Now that I have explained to

6       you the penalties that you face and the dangers and

7       disadvantages of proceeding without an attorney and have

8       advised you that I will not grant a continuance of the

9       trial, do you wish to represent yourself and give up your

10      constitutional right to a lawyer?

11                  THE DEFENDANT:      Yes.

12                  THE COURT:    All right.        So given all of the

13      defendant's answers to my questions that I -- she's

14      articulately and unmistakably asserted her Sixth Amendment

15      right to represent herself, I find that you have knowingly,

16      intelligently, and voluntarily waived your right to counsel

17      and that you understand the dangers and disadvantages of

18      proceeding on your own and the risk of penalty that you

19      face.    I will, therefore, permit you to represent yourself.

20                  So what I'm going to do is I'm going to appoint

21      someone to serve as standby counsel that can help you with

22      certain routine matters such as how to get things filed and

23      answer those sorts of questions but not serve as your

24      attorney.    So what I want to ask you is, do you want

25      Ms. Hernandez -- which you already have somewhat of a
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1       relationship with -- to serve as that standby attorney --

2       certainly, she's dealt with a lot of cases in federal

3       court -- or would you prefer that I appoint someone else to

4       serve as standby counsel?

5                   THE DEFENDANT:     It doesn't matter to me.

6                   THE COURT:    Okay.

7                   THE DEFENDANT:     I mean, I don't want anything to

8       interfere with my being able to file my own motions and

9       such.    So --

10                  THE COURT:    Okay.

11                  THE DEFENDANT:     -- as long -- (inaudible.)

12                  THE COURT:    Yeah, that person will not interfere.

13      They're just there as a convenience for both yourself and

14      the Court that things get done the way they're supposed to

15      get done so that, you know -- for example, this thing you

16      want to file, to make sure that you know how to get those

17      sorts of things done.      It's not an auxiliary attorney.          So

18      I'm going to appoint Ms. Hernandez as standby counsel for

19      you.    You will be able to control the organization and

20      content of your defense, to make motions, to argue points of

21      law, to participate in jury selection, to question

22      witnesses, and to address the Court and jury when

23      appropriate.     Ms. Hernandez will simply be available to

24      assist you with basic courthouse and courtroom mechanics and

25      with routine clerical or procedural matters so that I need
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1       not explain basic rules of courtroom protocol throughout the

2       trial.    You do not have a right, however, to a, sort of,

3       hybrid representation, which it seems like you don't want

4       regardless, but I have to understand -- I have to have you

5       understand that you will -- are not entitled to a hybrid

6       representation by which you represent yourself and

7       Ms. Hernandez also represents you.            So her appointment as

8       standby counsel is simply designed to keep the case and the

9       trial moving smoothly.       Do you understand all of that?

10                   THE DEFENDANT:     Yes.

11                   THE COURT:     Okay.   Now, the one hitch is in these

12      January 6th cases, a good deal of the discovery is

13      confidential.        So they will not turn over -- the Government

14      will not turn over these reams and reams of video evidence

15      to you, at least the confidential parts of it.                 So you will

16      still have to deal with Ms. Hernandez as -- for -- to some

17      extent as far as getting access to the confidential

18      discovery.    So it serves a very practical purpose in these

19      January 6th cases.        Do you understand that?

20                   THE DEFENDANT:     (Inaudible.)

21                   THE COURT:     Okay.   All right.         Anything else about

22      representing yourself that you have any questions about?

23                   THE DEFENDANT:     No.

24                   THE COURT:     Okay.   Ms. Hernandez, any questions?

25                   MS. HERNANDEZ:     No, Your Honor.
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1                   THE COURT:     Okay.   All right.       So now, we're going

2       to proceed as best we can with the arraignment that we have

3       to do.    I don't know if you've given that any more thought

4       since we were last together, Ms. Kelso, but it's something

5       we have to do.       So I'm going to have my Deputy Clerk read

6       the superseding indictment and so that you can be arraigned.

7       It's taking a moment to pull up on the computer.

8                   MS. HERNANDEZ:     I'm sorry, Your Honor.         I did have

9       a question.

10                  THE COURT:     Sure.

11                  MS. HERNANDEZ:     Will Ms. Kelso have access to ECF

12      so she can file herself or she would still be filing by

13      emailing to the email address that was given to her last

14      time?

15                  THE COURT:     Ms. Kelso, do you want access to ECF?

16                  THE DEFENDANT:     Sure.

17                  THE COURT:     Okay.   So there's -- if --

18      Ms. Hernandez can help you go on to our local rules.

19      There's certain things that you have to certify that you've

20      read the rules on the website and I think there's a little

21      tutorial.    If you've never done it before, there's a little

22      tutorial that you have to take and assert that you have

23      access to a computer to reliably receive notices of things.

24      So if you provide that assertion, then I'll approve you

25      being granted access to ECF which always makes things go a
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1       little bit smoother, but it's something you have to check

2       continuously because once you're granted access, notice

3       through ECF is notice to you.         So you can't say, "Oh, I

4       haven't looked there for 30 days and I missed that."                You

5       understand that?

6                   THE DEFENDANT:     Yes.

7                   THE COURT:    Okay.

8                   You ready, Tanya?

9                   THE DEPUTY CLERK:      Yes, sir.

10                  THE COURT:    Okay.    We're going to start the

11      arraignment now.

12                  THE DEPUTY CLERK:      I'm going to share the

13      superseding indictment.

14                  THE COURT:    Okay.

15                  THE DEPUTY CLERK:      Ms. Kelso, in Criminal Action

16      24-233, there was a superseding indictment filed on

17      September 18th, 2024, and in Count 1 -- Count 1 charges you

18      with conspiracy to impede or injure officers, in violation

19      of Title 18 United States Code Section 372; Count 2 -- give

20      me one second -- Count 2 charges you with civil disorder, in

21      violation of Title 18 United States Code Section 231(a)(3);

22      Count 3 charges you with entering and remaining in a

23      restricted building or grounds, in violation of Title 18

24      United States Code Section 1752(a)(1); Count 4 charges you

25      with disorderly and disruptive conduct in a restricted
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1       building or grounds, in violation of Title 18 United States

2       Code Section 1752(a)(2); and Count 5 charges you with

3       disorderly conduct in a Capitol building or grounds, in

4       violation of Title 40 United States Code Section

5       5104(e)(2)(D).

6                   How do you wish to plead?        And do you waive formal

7       reading of the indictment?

8                   THE DEFENDANT:     I'm innocent.

9                   THE COURT:    Okay.    So does that mean you plead not

10      guilty to all of the counts, Ms. Kelso?

11                  THE DEFENDANT:     Well, apparently, there's not a

12      way for me to say I'm innocent.

13                  THE COURT:    Okay.

14                  THE DEFENDANT:     I feel like only a guilty man

15      pleads.

16                  THE COURT:    Okay.

17                  THE DEFENDANT:     So I just don't have a plea to

18      enter, but I will let you do your thing.

19                  THE COURT:    Okay.    I will enter a plea of not

20      guilty on all five counts on your behalf.

21                  All right.    So --

22                  THE DEFENDANT:     (Inaudible) -- do not feel that I

23      have been arraigned.

24                  THE COURT:    Okay.    So you're entitled to have the

25      entire superseding indictment read to you -- I'm sure you've
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1       already seen that document before -- or you can waive having

2       my Deputy Clerk have to read the -- all 11 pages of it.                   Do

3       you want it read to you or do you want -- or to waive your

4       right to have it read to you?

5                   THE DEFENDANT:     I guess we can waive it.

6                   THE COURT:    Okay.    All right.       So we won't read

7       the entire thing, then.

8                   All right.    What -- where do we go from here,

9       Mr. Mariano?

10                  MR. MARIANO:    I think we can set a trial date and

11      a motions deadline for the defendant.          The one thing that I

12      want to raise from the previous thread of colloquy: I know,

13      at the end, Your Honor raised the protective order and the

14      fact that, as standby counsel, Ms. Hernandez would still

15      fulfill the role with respect to sensitive and

16      highly-sensitive materials.        I believe Ms. Kelso nodded, but

17      I just wanted to get her understanding on the record.

18                  THE COURT:    All right.     I gather that there's not

19      a protective order yet on the -- on -- in this case.                 Is

20      that right?

21                  MR. MARIANO:    Your Honor, there is a protective

22      order.    It's Docket No. 15.

23                  THE COURT:    Okay.    All right.       So Ms. Hernandez

24      will continue to serve as the point of contact on that and

25      the rules of the protective order will continue to apply.
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1                    So the -- as you know, Ms. Hernandez, some of the

2       materials she can have on her own, but others she cannot,

3       and you will serve as the liaison for those aspects and

4       she'll have to go through you to do that.              I don't know if

5       you've had a pro se January 6th defendant before,

6       Ms. Hernandez, but many of your colleagues have.               So you can

7       get information from others on -- as to how that works.

8                    MS. HERNANDEZ:     Yeah.    I don't think it really

9       matters whether it's pro se or not, because the protective

10      order applies to certain items of discovery regardless.

11                   THE COURT:     Yeah.

12                   MS. HERNANDEZ:     They are videos.        The CC- -- as I

13      understand it, unless the Government waives, the CCTV videos

14      are highly protected.        So I cannot provide a copy of those

15      to Ms. Kelso.        She can view them either in my presence or in

16      the presence of staff.

17                   THE COURT:     Okay.

18                   MS. HERNANDEZ:     That's my understanding of the

19      protective order.

20                   THE COURT:     Okay.   All right.       So I'm not

21      inclined -- given the disadvantage that Ms. Kelso's at, I'm

22      not inclined to set a trial just yet.           I want to make sure

23      that we work out the kinks of getting discovery to her as

24      necessary.    So I'm going to come back in 30 days.

25                   Ms. Kelso, do you -- while you work out those
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1       kinks in discovery, are you amenable to tolling the Speedy

2       Trial Act?

3                    THE DEFENDANT:    Yes.

4                    THE COURT:   Okay.    So I find that it's in the

5       interests of justice for us all to try to get the -- given

6       that Ms. Kelso is now pro se, to get some of these discovery

7       issues/kinks worked out and we'll come back in 30 days.

8                    THE DEFENDANT:    I wouldn't say pro se.        I would

9       say sui juris.

10                   THE COURT:   Okay.    So you can use the language

11      with -- you wish, Ms. Kelso, but the Court uses the language

12      that applies here under the law.         So you are a pro se.

13                   All right.   What's 30 days, Tanya?

14                   THE DEPUTY CLERK:     Everyone available on Tuesday,

15      November 19th, at 11:00 a.m.?

16                   THE DEFENDANT:    Yes.

17                   MR. MARIANO:   Yes.

18                   MS. HERNANDEZ:    Yes.

19                   THE COURT:   All right.     And that will be after the

20      election.    So hopefully everyone will have some clarity as

21      to how many trials are likely to take place and I'll have a

22      better idea of my trial schedule.

23                   Anything else we need to resolve today?

24                   MR. MARIANO:   Not from the Government, Your Honor.

25      Thank you.
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1                   THE COURT:    Ms. Kelso?

2                   THE DEFENDANT:     I still do not feel like I have

3       been arraigned.

4                   THE COURT:    Okay.    Under the eyes of the law, you

5       have been arraigned.

6                   So -- all right.       Thank you, Ms. Hernandez.

7                   Everyone's excused.       So long.

8                   THE DEPUTY CLERK:      Thank you, everyone.         This

9       Court is adjourned.

10                  (Proceedings concluded at 11:13 a.m.)

11                              * * * * * * * * * * * * *

12                      CERTIFICATE OF OFFICIAL COURT REPORTER

13      I, TIMOTHY R. MILLER, RPR, CRR, NJ-CCR, do hereby certify

14      that the above and foregoing constitutes a true and accurate

15      transcript of my stenographic notes and is a full, true and

16      complete transcript of the proceedings to the best of my

17      ability, dated this 18th day of October 2024.

18                                /s/Timothy R. Miller, RPR, CRR, NJ-CCR
                                  Official Court Reporter
19                                United States Courthouse
                                  Room 6722
20                                333 Constitution Avenue, NW
                                  Washington, DC 20001
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